Case 2:05-cr-20059-SHl\/l Document 9 Filed 06/07/05 Page 1 of 5 PagelD 13

uNiTED sTATEs DisTRicT coue'r ;.-H_ED mg
wEsTERN DisTRicT oF TENNESSEE ’“ %“~ 9-“»`-
MEMPHls olvlsioN 35 JH,,,__? FH h 2
‘ ‘~'ih : 8
uNlTED sTATEs oF ANlERch QOBEHW , a
_V_ 05-20059-01-Nla OF tN.` rewer

BENJAM|N L. |VlA'|'|'ESON
Jeffrey Jones, Retained
Defense Attorney
6540 Stage Road
Bart|ett, Tennessee 38134

 

JUDG|V|ENT lN A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count1 of the lnformation on February25, 2005. Accordingly, the
court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Tit|e & Section N§_LQM Conciuded Number(s)
18 U.S.C. § 1001(a)(3) False Statements 12/20/2000 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the l\/landatory
Victims Fiestitution Act of 1996.

lT lS FURTHER OF{DEF{ED that the defendant shall notify the United States Attomey for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid

Defendant’s Soc. Sec. l\lo_ XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth; 09/06/1961 June 06, 2005
Deft’s U.S. l\/larshal No.: 19511-076

Defendant’s Fiesidence Address:
3478 Fiobert Drive
Hernando, l\/lS 38632

JA//'“'L-

SAMUEL H. |VlA`i/S, JR.
Ul\llTED STATES D!STR|CT JUDGE

 

June 7 , 2005

Thls document entered on the docks

téhestl£?ccmp'is'~.c
with Hule 55 andi'cr 32(b b)FRCrP on _______S@

Case 2:05-cr-20059-SHl\/l Document 9 Filed 06/07/05 Page 2 of 5 PagelD 14

Case No: 05-20059-01-|\/‘|a
Defendant Name: Benjamin L. N|atteson Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of one (1) year.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this COurt.

STANDARD COND|T|ONS OF SUPERV|SION

t, The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesr except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant sha|i not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9_ The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:05-cr-20059-SHl\/l Document 9 Filed 06/07/05 Page 3 of 5 PagelD 15

Case No; 05-20059-01-Ma
Defendant Name.' Benjamin L. lVlatteson Page 3 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lt this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| l\/lonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall cooperate in the collection of DNA as directed by the Probation
Officer_

Case 2:05-cr-20059-SHl\/l Document 9 Filed 06/07/05 Page 4 of 5 PagelD 16

Case No: 05-20059-01-Ma
Defendant Name: Benjamin L_ Matteson Page 4 of 4

CR|N||NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Tota| Restitution
$100.00 $1,000.00

The Special Assessment shall be due immediately

F|NE
A Fine in the amount of $ 1,000.00 is imposed

REST|TUT|ON
No Ftestitution was ordered

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20059 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

Jeffrey J ones
JONES LAW FIRM
6540 Stage

Bartiett7 TN 3 8134

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

